Case 1:05-cv-01187-.]DT-STA Document 5 Filed 07/21/05 Page 1 of 2 Page|D 6

 

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IN THE UNITED sTATES DISTRICT COURT O.S`JU "\\\
FOR THE WESTERN DISTRICT OF TENNESSEE .?/ O.C
EASTERN DIVISION 417 8,
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sANDRA K. wEBB, ) W'i> 9_».1;_';¢57;;/;:',\/§£@
) /:: .¢-'JQ{SGCVO@?/~
Petitioner, )
)
vs. ) NO. 05-1187 T/An
)
DAVID L. WOOLFORK, )
)
Respondent. )
ORDER SETTING HEARING

 

Before the Court is Petitioner’S Motion for Change of Venue filed on July 5, 2005.
Within the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this
matter. After due considerati.on, it is ORDERED that a hearing on the Motion to Recuse shall
be held before Uriited States Magistrate Judge S. Thomas Anderson on TUESDAY, AUGUST 2,
2005 at 2:00 P.M. in the Magistrate Judge Cout“croom, 4th Floor, United States Courthouse, l ll
S. Highland Avenue, Jackson, Termessee.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01187 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

Sandra K. Webb
PO Box 1451
Jackson7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

